









	





IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0114-08





ANTHONY DEAN DENNIS, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

 FROM THE EIGHTH COURT OF APPEALS

DALLAS COUNTY





	Per curiam.  keasler and hervey, jj., dissent.


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b),
because the original petition is not accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in this
Court within thirty days after the date of this order.

En banc.

Delivered: February 13, 2008

Do Not Publish.


